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                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION AT PIKEVILLE

CRIMINAL ACTION NO. 7:06-03

UNITED STATES OF AMERICA,                                                              PLAINTIFF

v.                                              ORDER

KRISTY COLEMAN TACKETT,                                                             DEFENDANT
                                             *********

        This matter is before the Court on the Report and Recommendation in which the Magistrate

Judge makes certain recommendations regarding the defendant’s admitted violations of the terms of

her supervised release (DE 258).

        The defendant has filed a waiver of allocution, waiving her right to make a statement and

present mitigating information at a hearing (DE 254). She has also filed a waiver of her right to respond

to the Magistrate Judge’s report and states she has no objections to the report (DE 259).

        Accordingly, the Court hereby ORDERS that the Report and Recommendation is ADOPTED in

its entirety. The Court further hereby ORDERS as follows:

        1) the defendant’s supervised release is modified to include the following additional conditions:

            a)   that the defendant be incarcerated without delay for 16 consecutive weekends, reporting
                 at 6:00 p.m. on Fridays and released on Sundays at 6:00 p.m. The Court recommends
                 that the defendant be incarcerated at the Pike County Detention Center;

            b) that the defendant should not be given any credit towards the above sentence for time
               served up to this point;


        2) that the defendant’s supervised release not be revoked; and

        3) that all remaining conditions of release shall remain in full force and effect.

        Dated April 16, 2015.
